USDC IN/ND case 2:13-cv-00424-PPS document 1 filed 11/20/13 page 1 of 22
USDC IN/ND case 2:13-cv-00424-PPS document 1 filed 11/20/13 page 2 of 22
USDC IN/ND case 2:13-cv-00424-PPS document 1 filed 11/20/13 page 3 of 22
USDC IN/ND case 2:13-cv-00424-PPS document 1 filed 11/20/13 page 4 of 22
USDC IN/ND case 2:13-cv-00424-PPS document 1 filed 11/20/13 page 5 of 22
USDC IN/ND case 2:13-cv-00424-PPS document 1 filed 11/20/13 page 6 of 22
USDC IN/ND case 2:13-cv-00424-PPS document 1 filed 11/20/13 page 7 of 22
USDC IN/ND case 2:13-cv-00424-PPS document 1 filed 11/20/13 page 8 of 22
USDC IN/ND case 2:13-cv-00424-PPS document 1 filed 11/20/13 page 9 of 22
USDC IN/ND case 2:13-cv-00424-PPS document 1 filed 11/20/13 page 10 of 22
USDC IN/ND case 2:13-cv-00424-PPS document 1 filed 11/20/13 page 11 of 22
USDC IN/ND case 2:13-cv-00424-PPS document 1 filed 11/20/13 page 12 of 22
USDC IN/ND case 2:13-cv-00424-PPS document 1 filed 11/20/13 page 13 of 22
USDC IN/ND case 2:13-cv-00424-PPS document 1 filed 11/20/13 page 14 of 22
USDC IN/ND case 2:13-cv-00424-PPS document 1 filed 11/20/13 page 15 of 22
USDC IN/ND case 2:13-cv-00424-PPS document 1 filed 11/20/13 page 16 of 22
USDC IN/ND case 2:13-cv-00424-PPS document 1 filed 11/20/13 page 17 of 22
USDC IN/ND case 2:13-cv-00424-PPS document 1 filed 11/20/13 page 18 of 22
USDC IN/ND case 2:13-cv-00424-PPS document 1 filed 11/20/13 page 19 of 22
USDC IN/ND case 2:13-cv-00424-PPS document 1 filed 11/20/13 page 20 of 22
USDC IN/ND case 2:13-cv-00424-PPS document 1 filed 11/20/13 page 21 of 22
USDC IN/ND case 2:13-cv-00424-PPS document 1 filed 11/20/13 page 22 of 22
